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                                UNITED STATES DISTRICT COURT
                                SOUTHERN DISTRICT OF FLORIDA

                                                CASE NO.

  VICTORIA GALANTI, individually and
  on behalf of all others similarly situated,                    CLASS ACTION

          Plaintiff,                                             JURY TRIAL DEMANDED

  v.

  THE SCOTTS COMPANY, LLC d/b/a
  MIRACLE-GRO,

        Defendant.
  ____________________________________/

                                    CLASS ACTION COMPLAINT

          Plaintiff Victoria Galanti brings this class action against Defendant The Scotts Company, LLC

  d/b/a Miracle-Gro, and alleges as follows upon personal knowledge as to Plaintiff and Plaintiff’s own

  acts and experiences, and, as to all other matters, upon information and belief, including investigation

  conducted by Plaintiff’s attorneys.

                                        NATURE OF THE ACTION

          1.      This is a putative class action pursuant to the Telephone Consumer Protection Act,

  47 U.S.C. §§ 227, et seq. (the “TCPA”), and the Florida Telephone Solicitation Act (“FTSA”),

  Fla. Stat. § 501.059.

          2.      To promote its goods and services, Defendant engages in unsolicited text

  messaging, including to individuals who have registered their telephone numbers on the National

  Do-Not-Call Registry, and to those who have not provided Defendant with their prior express

  written consent as required by the FTSA.




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         3.      Defendant also engages in telemarketing without the requisite policies and

  procedures and training required under the TCPA and its implementing regulations.

         4.      Defendant’s telephonic sales calls have caused Plaintiff and the Class members

  harm, including violations of their statutory rights, statutory damages, annoyance, nuisance, and

  invasion of their privacy.

         5.      Through this action, Plaintiff seeks an injunction and statutory damages on behalf

  of herself and the Class members, as defined below, and any other available legal or equitable

  remedies resulting from the unlawful actions of Defendant.

                                               PARTIES

         6.      Plaintiff is, and at all times relevant hereto was, a citizen and resident of Broward

  County, Florida.

         7.      Plaintiff is, and at all times relevant hereto was, an individual and a “called party”

  as defined by Fla. Stat. § 501.059(1)(a) in that he was the regular user of cellular telephone number

  that received Defendant’s telephonic sales calls.

         8.      Defendant is, and at all times relevant hereto was, a foreign corporation and a

  “telephone solicitor” as defined by Fla. Stat. § 501.059(f).

                                   JURISDICTION AND VENUE

         9.      This Court has federal question subject matter jurisdiction over Plaintiff’s TCPA

  claims pursuant to 28 U.S.C. § 1331.

         10.     This Court has supplemental jurisdiction over Plaintiff’s FTSA claims pursuant to

  28 U.S.C. § 1367.

         11.     Defendant is subject to personal jurisdiction in Florida because this suit arises out

  of and relates to Defendant’s contacts with this state.         Defendant initiated and directed



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  telemarketing and/or advertising text messages into Florida. Specifically, Defendant initiated and

  directed the transmission of unsolicited advertisement or telemarketing text messages to Plaintiff’s

  cellular telephone number to sell goods, services or products in Florida. Plaintiff’s telephone

  number has an area code that specifically coincides with locations in Florida, and Plaintiff received

  such messages while residing in and physically present in Florida.

          12.    Venue is proper in this District pursuant to 28 U.S.C. §§ 1391(b) and (c) because

  Defendant is deemed to reside in any judicial district in which it is subject to personal jurisdiction,

  and because a substantial part of the events or omissions giving rise to the claim occurred in this

  District.

                                                 FACTS

          13.    Commencing on or about February 2, 2022, Defendant sent telephonic sales calls

  to Plaintiff’s cellular telephone number, including the following text message calls:




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         14.     The purpose of Defendant’s telephonic sales calls was to solicit the sale of

  Defendant’s goods and/or services.

         15.     Plaintiff’s cellular telephone number was registered on the National Do-Not-Call

  Registry for over 30 days prior to the receipt of Defendant’s first text message and Plaintiff has

  consistently maintained her number registered during all relevant times.

         16.     Plaintiff utilizes her cellular telephone number for personal purposes and the

  number is Plaintiff’s residential telephone line.

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          17.     Plaintiff is the regular user of the telephone number that received the above

  telephonic sales calls.

          18.     Plaintiff has never had any type of business relationship with Defendant.

          19.     Plaintiff has never made any type of inquiry to Defendant.

          20.     Upon information and belief, Defendant maintains and/or has access to outbound

  transmission reports for all text messages sent advertising/promoting its services and goods. These

  reports show the dates, times, target telephone numbers, and content of each message sent to

  Plaintiff and the Class members.

          21.     As demonstrated by the text message screenshots above, Defendant did not provide

  Plaintiff and the Class members with instructions on how to opt-out of future text messages by,

  for example, advising them that they could text “Stop” to get the messages to stop, which is a

  standard requirement outlined in the Principles and Best Practices manual published by CTIA, the

  trade association that represents every major wireless carrier in the country. See 190719-CTIA-

  Messaging-Principles-and-Best-Practices-FINAL.pdf at 15 (“Message Senders should state in the

  message how and what words effect an opt-out. Standardized ‘STOP’ wording should be used for

  opt-out instructions, however opt-out requests with normal language (i.e., stop, end, unsubscribe,

  cancel, quit, ‘please opt me out’) should also be read and acted upon by a Message Sender except

  where a specific word can result in unintentional opt-out. The validity of a Consumer opt-out

  should not be impacted by any de minimis variances in the Consumer opt-out response, such as

  capitalization, punctuation, or any letter-case sensitivities.”).

          22.     Defendant’s failure to provide opt-out instructions to Plaintiff and the Class

  members is indicative of Defendant’s failure to 1) maintain written policies and procedures




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  regarding its text messaging marketing; (2) provide training to its personnel engaged in

  telemarketing; and (3) maintain a standalone do-not-call list.

          23.     Given Defendant’s use of generic text messages to solicit consumers, along with

  the use of a short-code (76848), Plaintiff is informed and believes that Defendant caused similar

  telephonic sales calls to be sent to at least 50 individuals.

          24.     To transmit the above telephonic sales text message calls Defendant utilized a

  computer software system that automatically selected and dialed Plaintiff’s and the Class

  members’ telephone numbers.

          25.     The number used by Defendant to transmit the subject text message solicitations

  (76848) is known as a “short code.” Short codes are short digit sequences, significantly shorter

  than telephone numbers, that are used to address messages in the Multimedia Messaging System

  and short message service systems of mobile network operators.

          26.     Text messages using a short code can only be sent using a computer, and cannot be

  sent using a standard telephone.

          27.     The impersonal and generic nature of Defendant’s text messages, coupled with their

  frequency, and the fact that they originated from a short-code, demonstrates that Defendant utilized

  a computer software system that automatically selected and dialed Plaintiff’s and the Class

  members’ telephone numbers.

          28.     To send the text message, Defendant used a messaging platform (the “Platform”),

  which permitted Defendant to transmit thousands of text messages automatically and without any

  human involvement.




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          29.     Defendant was not required to and did not need to utilize the Platform to send

   messages to Plaintiff and the Class members. Instead, Defendant opted to use the Platform to

   maximize the reach of its text message advertisements at a nominal cost to Defendant.

          30.     The Platform has the capacity to select and dial numbers automatically from a list

   of numbers.

          31.     The Platform has the capacity to schedule the time and date for future transmission

   of text messages.

          32.     The Platform also has an auto-reply function that results in the automatic

   transmission of text messages.

          33.     Defendant was not required to and did not need to utilize the Platform to send

   messages to Plaintiff and the Class members. Instead, Defendant opted to use the Platform to

   maximize the reach of its text message advertisements at a nominal cost to Defendant.

          34.     Defendant would be able to conduct its business operations without sending

   automated text messages to consumers.

          35.     Defendant would be able to send automated text messages to consumers, and in

   compliance with the FTSA, by securing the proper consent from consumers prior to sending text

   messages.

          36.     Defendant would be able to send text messages to consumers without consent by

   utilizing a non-automated text messaging system.

          37.     Accordingly, it is not impossible for Defendant to comply with the FTSA in the

   context of transmitting text messages.

          38.     The burden and cost to Defendant of securing consent from consumers that

   complies with the FTSA is nominal.



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           39.     Compliance with the FTSA will not result in Defendant having to cease its business

   operations.

           40.     Compliance with the FTSA will not result in Defendant having the alter the prices

   of any goods or services it provides in the marketplace.

           41.     Compliance with the FTSA will not force Defendant to seek regulatory approval

   from the State of Florida before undertaking any type of commercial transaction.

           42.     Because a substantial part of Defendant’s FTSA violations occurred in Florida,

   requiring Defendant’s compliance with the FTSA will not have the practical effect of regulating

   commerce occurring wholly outside of Florida.

           43.     Plaintiff never provided Defendant with express written consent authorizing

   Defendant to transmit telephonic sales calls to Plaintiff’s cellular telephone number utilizing an

   automated system for the selection or dialing of telephone numbers.

           44.     More specifically, Plaintiff never signed any type of authorization permitting or

   allowing the placement of a telephonic sales call by text message using an automated system for

   the selection or dialing of telephone numbers.

           45.     Defendant’s failure to (1) maintain the required written policies and procedures, (2)

   provide training to its personnel engaged in telemarketing, (3) maintain a standalone do-not-call

   list, and (4) provide Plaintiff and the Class members with instructions on how to opt out of

   Defendant’s text message solicitations, caused Plaintiff and the Class members harm because they

   had no idea how to and were unable to stop Defendant’s unsolicited text message calls.

           46.     Defendant’s telephonic sales calls caused Plaintiff and the Class members harm,

   including statutory damages, inconvenience, invasion of privacy, aggravation, annoyance, and

   violation of their statutory privacy rights.



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                                       CLASS ALLEGATIONS

          PROPOSED CLASSES

          47.     Plaintiff brings this lawsuit as a class action on behalf of herself individually and

   on behalf of all other similarly situated persons as a class action pursuant to Florida Rule of Civil

   Procedure 1.220(b)(2) and (b)(3). The Classes that Plaintiff seeks to represent is defined as:

                  DNC Class: All persons in the United States who from four years
                  prior to the filing of this action (1) Defendant, or anyone on
                  Defendant’s behalf, (2) placed more than one text message call
                  within any 12-month period; (3) where the person’s telephone
                  number that had been listed on the National Do Not Call Registry
                  for at least thirty days; (4) regarding Defendant’s property, goods,
                  and/or services; (5) who did not purchase or transact business with
                  Defendant during the eighteen months immediately preceding the
                  date of the first message; and (6) who did not contact Defendant
                  during the three months immediately preceding the date of the first
                  message with an inquiry about a product, good, or service offered
                  by Defendant.

                  IDNC Class: All persons within the United States who, within the
                  four years prior to the filing of this Complaint through the date
                  of class certification, (1) received two or more text messages
                  within any 12-month period, (2) regarding Defendant’s
                  property, goods, and/or services, (3) to said person’s residential
                  telephone number.

                  FTSA Class: All persons in Florida who, (1) were sent a telephonic
                  sales call regarding Defendant’s property, goods, and/or services,
                  (2) using the same equipment or type of equipment utilized to call
                  Plaintiff.

          48.     Defendant and its employees or agents are excluded from the Class.

          NUMEROSITY

          49.     Upon information and belief, Defendant has placed telephonic sales calls to

   telephone numbers belonging to at least 50 consumers. The members of the Classes, therefore, are

   believed to be so numerous that joinder of all members is impracticable.




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          50.      The exact number and identities of the Classes members are unknown at this time

   and can be ascertained only through discovery. Identification of the Class members is a matter

   capable of ministerial determination from Defendant’s call records.

          COMMON QUESTIONS OF LAW AND FACT

          51.      There are numerous questions of law and fact common to the Classes which

   predominate over any questions affecting only individual members of the Classes. Among the

   questions of law and fact common to the Classes are:

                (a) Whether Defendant initiated telephonic sales calls to Plaintiff and the Class

                   members;

                (b) Whether Defendant can meet its burden of showing that it had prior express written

                   consent to make such calls;

                (c) Whether Defendant sent solicitations to individuals who had registered their

                   telephone numbers on the National Do-Not-Call Registry;

                (d) Whether Defendants maintain an internal do-not-call list and instruct their

                   employees on how to use the list; and

                (e) Whether Defendant is liable for damages, and the amount of such damages.

          52.      The common questions in this case are capable of having common answers, and

   Plaintiff and the Class members will have identical claims capable of being efficiently adjudicated

   and administered in this case.

          TYPICALITY

          53.      Plaintiff’s claims are typical of the claims of the Class members, as they are all

   based on the same factual and legal theories.




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           PROTECTING THE INTERESTS OF THE CLASS MEMBERS

           54.     Plaintiff is a representative who will fully and adequately assert and protect the

   interests of the Classes and has retained competent counsel. Accordingly, Plaintiff is an adequate

   representative and will fairly and adequately protect the interests of the Class.

           SUPERIORITY

           55.     A class action is superior to all other available methods for the fair and efficient

   adjudication of this lawsuit because individual litigation of the claims of all members of the Classes

   is economically unfeasible and procedurally impracticable. While the aggregate damages sustained

   by the Classes are in the millions of dollars, the individual damages incurred by each member of

   the Classes resulting from Defendant’s wrongful conduct are too small to warrant the expense of

   individual lawsuits. The likelihood of individual Class members prosecuting their own separate

   claims is remote, and, even if every member of the Classes could afford individual litigation, the

   court system would be unduly burdened by individual litigation of such cases.

           56.     The prosecution of separate actions by members of the Classes would create a risk

   of establishing inconsistent rulings and/or incompatible standards of conduct for Defendant. For

   example, one court might enjoin Defendant from performing the challenged acts, whereas another

   may not. Additionally, individual actions may be dispositive of the interests of the Classes,

   although certain class members are not parties to such actions.

                                                COUNT I
                              Violations of 47 U.S.C. § 227(c) and 64.1200(c)
                               (On Behalf of Plaintiff and the DNC Class)

           57.     Plaintiff re-alleges and incorporates the allegations set forth in paragraphs 1 through

   56 as if fully set forth herein.




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           58.     The TCPA’s implementing regulation, 47 C.F.R. § 64.1200(c), provides in

   pertinent part that “[n]o person or entity shall initiate any telephone solicitation” to “[a] residential

   telephone subscriber who has registered his or her telephone number on the national do-not-call

   registry of persons who do not wish to receive telephone solicitations that is maintained by the

   federal government.”

           59.     Per 47 C.F.R. § 64.1200(e), § 64.1200(c) is “applicable to any person or entity

   making telephone solicitations or telemarketing calls to wireless telephone numbers.”

           60.     Any “person who has received more than one telephone call within any 12-month

   period by or on behalf of the same entity in violation of the regulations prescribed under this

   subsection may” may bring a private action based on a violation of said regulations, which were

   promulgated to protect telephone subscribers’ privacy rights to avoid receiving telephone

   solicitations to which they object. 47 U.S.C. § 227(c).

           61.     Defendant violated 47 C.F.R. § 64.1200(c) by initiating telephone solicitations to

   telephone subscribers such as Plaintiff and the DNC Class members who registered their respective

   telephone numbers on the National Do Not Call Registry, a listing of persons who do not wish to

   receive telephone solicitations that is maintained by the federal government.

           62.     Defendant violated 47 U.S.C. § 227(c)(5) because Plaintiff and DNC Class

   members received more than one text message in a 12-month period from Defendant in violation

   of 47 C.F.R. § 64.1200.

           63.     As a result of Defendant’s conduct as alleged herein, Plaintiff and the DNC Class

   members suffered actual damages and, under section 47 U.S.C. § 227(c), are entitled receive up to

   $500 in damages for such violations of 47 C.F.R. § 64.1200. To the extent Defendant’s misconduct




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   is determined to be willful and knowing, the Court should, pursuant to 47 U.S.C. § 227(c)(5),

   treble the amount of statutory damages recoverable by the members of the DNC Class.

                                               COUNT II
                      Violations of 47 U.S.C. § 227(c) and 47 C.F.R. § 64.1200(d)
                              (On Behalf of Plaintiff and the IDNC Class)

           64.     Plaintiff re-alleges and incorporates the allegations set forth in paragraphs 1 through

   56 as if fully set forth herein.

           65.     In pertinent part, 47 C.F.R. § 64.1200(d) provides:

                   No person or entity shall initiate any call for telemarketing purposes
                   to a residential telephone subscriber unless such person or entity has
                   instituted procedures for maintaining a list of persons who request
                   not to receive telemarketing calls made by or on behalf of that
                   person or entity. The procedures instituted must meet the following
                   minimum standards:

                   (1) Written policy. Persons or entities making calls for telemarketing
                   purposes must have a written policy, available upon demand, for
                   maintaining a do-not-call list.

                   (2) Training of personnel engaged in telemarketing. Personnel
                   engaged in any aspect of telemarketing must be informed and
                   trained in the existence and use of the do-not-call list.

                   (3) Recording, disclosure of do-not-call requests. If a person or entity
                   making a call for telemarketing purposes (or on whose behalf such a call
                   is made) receives a request from a residential telephone subscriber not
                   to receive calls from that person or entity, the person or entity must
                   record the request and place the subscriber's name, if provided, and
                   telephone number on the do-not-call list at the time the request is made.
                   Persons or entities making calls for telemarketing purposes (or on
                   whose behalf such calls are made) must honor a residential subscriber's
                   do-not-call request within a reasonable time from the date such request
                   is made. This period may not exceed thirty days from the date of such
                   request. If such requests are recorded or maintained by a party other than
                   the person or entity on whose behalf the telemarketing call is made, the
                   person or entity on whose behalf the telemarketing call is made will be
                   liable for any failures to honor the do-not-call request. A person or entity
                   making a call for telemarketing purposes must obtain a consumer's prior
                   express permission to share or forward the consumer's request not to be
                   called to a party other than the person or entity on whose behalf a


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                   telemarketing call is made or an affiliated entity.

           66.     Pursuant to 47 C.F.R § 64.1200(e), the rules set forth in 47 C.F.R. § 64.1200(d) are

   applicable to any person or entity making telephone solicitations or telemarketing calls to wireless

   telephone numbers.

           67.     Defendant violated the requirements of section 64.1200(d) by failing to (1)

   maintain the required written policies; (2) provide training to its personnel engaged in

   telemarketing; and (3) maintain a standalone do-not-call list.

           68.     Pursuant to section 227(c)(5) of the TCPA, Plaintiff and the IDNC Class members

   are entitled to an award of $500.00 in statutory damages, for each text message sent by Defendant.

   To the extent Defendant’s misconduct is determined to be willful and knowing, the Court should,

   pursuant to 47 U.S.C. § 227(c)(5), treble the amount of statutory damages recoverable by the

   members of the IDNC Class.

           69.     Plaintiff requests for this Court to enter an Order granting the relief outlined in the

   Prayer for Relief below.

                                                COUNT III
                                     Violation of Fla. Stat. § 501.059
                                (On Behalf of Plaintiff and the FTSA Class)

           70.     Plaintiff re-alleges and incorporates the allegations set forth in paragraphs 1 through

   56 as if fully set forth herein.

           71.     It is a violation of the FTSA to “make or knowingly allow a telephonic sales call to

   be made if such call involves an automated system for the selection or dialing of telephone numbers

   or the playing of a recorded message when a connection is completed to a number called without

   the prior express written consent of the called party.” Fla. Stat. § 501.059(8)(a).




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           72.     A “telephonic sales call” is defined as a “telephone call, text message, or voicemail

   transmission to a consumer for the purpose of soliciting a sale of any consumer goods or services,

   soliciting an extension of credit for consumer goods or services, or obtaining information that will

   or may be used for the direct solicitation of a sale of consumer goods or services or an extension

   of credit for such purposes.” Fla. Stat. § 501.059(1)(i).

           73.     “Prior express written consent” means an agreement in writing that:

                   1. Bears the signature of the called party;

                   2. Clearly authorizes the person making or allowing the placement of a telephonic
                      sales call by telephone call, text message, or voicemail transmission to deliver
                      or cause to be delivered to the called party a telephonic sales call using an
                      automated system for the selection or dialing of telephone numbers, the playing
                      of a recorded message when a connection is completed to a number called, or
                      the transmission of a prerecorded voicemail;

                   3. Includes the telephone number to which the signatory authorizes a telephonic
                      sales call to be delivered; and

                   4. Includes a clear and conspicuous disclosure informing the called party that:

                           a. By executing the agreement, the called party authorizes the person
                              making or allowing the placement of a telephonic sales call to deliver or
                              cause to be delivered a telephonic sales call to the called party using an
                              automated system for the selection or dialing of telephone numbers or
                              the playing of a recorded message when a connection is completed to a
                              number called; and

                           b. He or she is not required to directly or indirectly sign the written
                              agreement or to agree to enter into such an agreement as a condition of
                              purchasing any property, goods, or services.

   Fla. Stat. § 501.059(1)(g).

           74.     Defendant failed to secure prior express written consent from Plaintiff and the

   FTSA Class members.




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           75.     In violation of the FTSA, Defendant made and/or knowingly allowed telephonic

   sales calls to be made to Plaintiff and the FTSA Class members without Plaintiff’s and the FTSA

   Class members’ prior express written consent.

           76.     Defendant made and/or knowingly allowed the telephonic sales calls to Plaintiff

   and the FTSA Class members to be made utilizing an automated system for the selection or dialing

   of telephone numbers.

           77.     As a result of Defendant’s conduct, and pursuant to § 501.059(10)(a) of the FTSA,

   Plaintiff and FTSA Class members were harmed and are each entitled to a minimum of $500.00

   in damages for each violation.

           78.     Plaintiff requests for this Court to enter an Order granting the relief outlined in the

   Prayer for Relief below.

                                            COUNT IV
            Injunctive Relief Pursuant to 47 U.S.C. § 227(c) and 47 C.F.R. § 64.1200(c)
                             (On Behalf of Plaintiff and the DNC Class)

           79.     Plaintiff re-alleges and incorporates the allegations set forth in paragraphs 1 through

   56 as if fully set forth herein.

           80.     Pursuant to section 227(c)(5)(A), Plaintiff seeks injunctive relief prohibiting

   Defendant’s unlawful conduct in the future to protect Plaintiff and the DNC Class members from

   Defendant’s unsolicited calls and practices.

           81.     Defendant’s ongoing and continuing violations have caused, and in the absence of

   an injunction will continue to cause, harm to Plaintiff and the DNC Class members.

           82.     Plaintiff and the Internal Class members will suffer irreparable harm if Defendants

   are permitted to continue their practice of violating 47 C.F.R. § 64.1200(c).




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           83.     The injuries that the Plaintiff and the DNC Class members will suffer if Defendant

   is not prohibited from continuing to engage in the unlawful practices described herein far outweigh

   the harm that Defendant will suffer if it is enjoined from continuing this conduct.

           84.     The public interest will be served by an injunction prohibiting Defendant from

   continuing to engage in the unlawful practices described herein.

           85.     Accordingly, Plaintiff and the DNC Class members seek an injunction requiring

   Defendant to regularly scrub its database of telephone numbers against the National Do-Not-Call

   Registry before sending any text message solicitations.

           86.     Plaintiff requests for this Court to enter an Order granting the relief outlined in the

   Prayer for Relief below.

                                             COUNT V
            Injunctive Relief Pursuant to 47 U.S.C. § 227(c) and 47 C.F.R. § 64.1200(d)
                             (On Behalf of Plaintiff and the IDNC Class)

           87.     Plaintiff re-alleges and incorporates the allegations set forth in paragraphs 1 through

   56 as if fully set forth herein.

           88.     Pursuant to section 227(c)(5)(A), Plaintiff seeks injunctive relief prohibiting

   Defendant’s unlawful conduct in the future to protect Plaintiff and the IDNC Class members from

   Defendant’s unsolicited calls and practices.

           89.     Defendant’s ongoing and continuing violations have caused, and in the absence of

   an injunction will continue to cause, harm to Plaintiff and the IDNC Class members.

           90.     Plaintiff and the IDNC Class members suffer irreparable harm if Defendant is

   permitted to continue its practice of violating 47 C.F.R. § 64.1200(d).




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           91.     The injuries that the Plaintiff and the IDNC Class members will suffer if Defendant

   is not prohibited from continuing to engage in the unlawful practices described herein far outweigh

   the harm that Defendant will suffer if it is enjoined from continuing this conduct.

           92.     The public interest will be served by an injunction prohibiting Defendant from

   continuing to engage in the unlawful practices described herein.

           93.     Accordingly, Plaintiff and the IDNC Class members seek an injunction requiring

   Defendant to (1) implement policies and procedures as required under the TCPA and its

   implementing regulations; (2) honor consumer opt-out requests; (3) to implement a standalone

   internal do-not-call list; and (4) train its personnel on use of the list and abide by the list.

           94.     Plaintiff requests for this Court to enter an Order granting the relief outlined in the

   Prayer for Relief below.

                                               COUNT VI
                         Injunctive Relief Pursuant to Fla. Stat. § 501.059(10)(a)
                              (On Behalf of Plaintiff and the FTSA Class)

           95.     Plaintiff re-alleges and incorporates the allegations set forth in paragraphs 1 through

   56 as if fully set forth herein.

           96.     Pursuant to section 501.059(10)(a), Plaintiff seeks injunctive relief prohibiting

   Defendant’s unlawful conduct in the future to protect Plaintiff and the FTSA Class members from

   Defendant’s unsolicited calls and practices.

           97.     Defendant’s ongoing and continuing violations have caused, and in the absence of

   an injunction will continue to cause, harm to Plaintiff and the FTSA Class members.

           98.     Plaintiff and the FTSA Class members suffer irreparable harm if Defendant is

   permitted to continue its practice of violating the FTSA.




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             99.       The injuries that the Plaintiff and the FTSA Class members will suffer if Defendant

   is not prohibited from continuing to engage in the unlawful practices described herein far outweigh

   the harm that Defendant will suffer if it is enjoined from continuing this conduct.

             100.      The public interest will be served by an injunction prohibiting Defendant from

   continuing to engage in the unlawful practices described herein.

             101.      Accordingly, Plaintiff and the FTSA Class members seek an injunction requiring

   Defendant to implement policies and procedures to secure express written consent before engaging

   in any text message solicitations, and to follow such consent requirements.

             102.      Plaintiff requests for this Court to enter an Order granting the relief outlined in the

   Prayer for Relief below.

                                             PRAYER FOR RELIEF

             WHEREFORE, Plaintiff, individually and on behalf of the Classes, prays for the following

   relief:
                   a) An order certifying this case as a class action on behalf of the Classes as defined above,

                       and appointing Plaintiff as the representative of the Classes and Plaintiff’s counsel as

                       Class Counsel;

                   b) An award of statutory damages for Plaintiff and each member of the Classes as

                       applicable under the FTSA and/or TCPA;

                   c) An order declaring that Defendant’s actions, as set out above, violate the FTSA and

                       TCPA;

                   d) An injunction requiring Defendant to cease all telephonic sales calls made without

                       express written consent, and to otherwise protect the interests of the Class;




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               e) An injunction requiring Defendant to comply with 47 C.F.R. § 64.1200(d) by (1)

                   maintaining the required written policies; (2) providing training to their personnel

                   engaged in telemarketing; and (3) maintaining a do-not-call list

               f) Such further and other relief as the Court deems necessary.

                                              JURY DEMAND

           Plaintiff, individually and on behalf of the Class, hereby demand a trial by jury.

                                DOCUMENT PRESERVATION DEMAND

           Plaintiff demands that Defendant take affirmative steps to preserve all records, lists, electronic

   databases or other itemization of telephone numbers associated with the communications or transmittal

   of the calls as alleged herein.

     DATED: April 11, 2022

                                                       Respectfully Submitted,

                                                       HIRALDO P.A.

                                                       /s/ Manuel S. Hiraldo
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